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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO

 ROBERT L. REESE, Derivatively on Behalf                 Case No.
 of Nominal Defendant AMERICAN
 ELECTRIC POWER COMPANY, INC.,                           VERIFIED STOCKHOLDER
                                                         DERIVATIVE COMPLAINT
                           Plaintiff,

                   v.

 NICHOLAS K. AKINS, BRIAN X.
 TIERNEY, THOMAS E. HOAGLIN,
 DAVID J. ANDERSON, J. BARNIE
 BEASLEY, JR., RALPH D. CROSBY, JR.,
 ART A. GARCIA, LINDA A. GOODSPEED,
 SANDRA BEACH LIN, MARGARET M.
 MCCARTHY, RICHARD C. NOTEBAERT,
 LIONEL L. NOWELL III, STEPHEN S.
 RASMUSSEN, OLIVER G. RICHARD, III,
 and SARA MARTINEZ TUCKER,

                           Defendants,

                   and

 AMERICAN ELECTRIC POWER
 COMPANY, INC.,

                           Nominal Defendant.

           Plaintiff Robert L. Reese (“Plaintiff”), by and through his undersigned attorneys, brings this

derivative complaint for the benefit of nominal defendant, American Electric Power Company,

Inc. (“AEP” or the “Company”), against its Board of Directors (the “Board”) and certain of its

executive officers seeking to remedy defendants’ breaches of fiduciary duties, insider trading, and

contribution for Violations of Sections 10(b) and 21D of the Securities Exchange Act of 1934 (the

“Exchange Act”). Plaintiff’s allegations are based upon his personal knowledge as to himself and

his own acts, and upon information and belief, developed from the investigation and analysis by

Plaintiff’s counsel, including a review of publicly available information, including filings by AEP


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with the U.S. Securities and Exchange Commission (“SEC”), press releases, news reports, analyst

reports, investor conference transcripts, publicly available filings in lawsuits, and matters of public

record.

I.         NATURE AND SUMMARY OF THE ACTION

           1.   AEP is an electric public utility holding company that generates, transmits, and

distributes electricity. Approximately 30% of its customers are in Ohio, and approximately 30%

of the energy AEP generates in Ohio stems from two coal-fired plants that the Company owns

through a consortium with other utility companies.

           2.   In July 2019, Ohio passed a bill that would provide a $1.3 billion ratepayer-funded

bailout of these two plants. Throughout the period in which the bill was crafted and considered by

the Ohio legislature, AEP maintained that it supported the purpose and efforts and that it evaluated

the bill’s impact on the Company, when, in fact, AEP’s executives orchestrated the bill’s passage

by funding the campaign for Ohio House Speaker, Larry Householder, in return for the bailout for

the Company’s plants.

           3.   On July 21, 2020, a criminal complaint and supporting affidavit were unsealed,

revealing that utility companies had bribed the Householder with more than $60 million to secure

the passage of the bailout and had concealed the payments through 501(c)(4) organizations called

Generation Now and Energy Pass-Through. The utility companies were not named in the

complaint, but corroborating information in the public record indicates that FirstEnergy Corp. and

AEP made the improper payments. Once the bill had passed, these entities also undermined efforts

to add a referendum on the ballot to repeal the bill, which was widely unpopular among Ohio

ratepayers. Since then, Householder, his associates, and Generation Now have pled guilty to

racketeering charges and admitted that Generation Now was formed for the express purpose of

receiving undisclosed donations “in return for specific official action by Householder relating to

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the passage and preservation of legislation that would go into effect and save the operation of two

nuclear plants in Ohio.”

           4.   On July 26, 2020, Columbus Dispatch published an article revealing that AEP had

contributed $350,000 toward the bribery scheme and that the funds had been directed through

Empowering Ohio’s Economy, Inc., a non-profit operated solely with AEP funds, and Coalition

for Opportunity & Growth.

           5.   On this news, the Company’s share price fell $4.67 per share, or over 5%, to close

at $81.16 per share on July 27, 2020, on unusually heavy trading volume.

           6.   On December 2, 2020, Dayton Daily News reported that AEP had contributed

$900,000 to the groups at the center of the scandal, including $550,000 in 2019 alone.

           7.   These revelations precipitated the filing of a securities class action in the United

States District Court for the Southern District of Ohio against AEP and certain of the defendants

named herein, captioned Nickerson v. American Electric Power Company, Inc., et al., Case No.

2:20-cv-04243-SDM-EPD (the “Securities Class Action”).

           8.   On August 25, 2020, Plaintiff served on AEP a demand pursuant to N.Y. B.C.L. §

624 (the “Demand”) seeking to inspect Board documents related to director oversight and/or

knowledge of the political contributions. Following negotiations and entry into a confidentiality

agreement, the Company produced approximately 540 pages of internal documents. Due to the

information produced in response to the Demand and in the public record, Plaintiff did not make

a demand on AEP’s Board prior to filing suit because make a demand would be a futile and useless

act.

           9.   At least half of the Company’s current Board could not disinterestedly and

independently respond to a litigation demand in connection with the misleading representations



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because, among other things, at least eight of the fourteen current directors knew or should have

known of AEP’s contributions to EOE, which was within AEP’s control. Thus they knew or

should have known of the Company’s connection to the bribery scandal. As a result, a majority

of the Board could not disinterestedly investigate whether their conduct constituted breaches of

fiduciary duties under Delaware law.

II.        JURISDICTION AND VENUE

           10.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that this

Complaint states a federal question: contribution for violations of Section 10(b) of the Exchange

Act.

           11.   This Court also has subject matter jurisdiction under 28 U.S.C. § 1332(a)(l) because

complete diversity exists between plaintiffs and each defendant, and the amount in controversy

exceeds $75,000 exclusive of interest and costs.

           12.   The Court has supplemental jurisdiction over the state law claims asserted herein

pursuant to 28 U.S.C. § 1367(a). This action is not a collusive one to confer jurisdiction on a court

of the United States which it would not otherwise have.

           13.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a

substantial portion of the transactions and wrongs complained of herein occurred in this District,

and the Defendants have received substantial compensation in this district by engaging in

numerous activities that had an effect in this District.

III.       PARTIES

Plaintiff

           14.   Plaintiff Robert L. Reese owns 900 shares of AEP stock and has continuously

owned AEP stock since 2009. Plaintiff is a citizen of Pennsylvania.



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Nominal Defendant

           15.   Nominal Defendant AEP is a New York corporation with its principal executive

offices located at 1 Riverside Plaza, Columbus, Ohio 43215. The Company’s common stock trades

on the NASDAQ exchange under the symbol “AEP.”

Defendants

           16.   Defendant Nicholas K. Akins (“Akins”) has served as Chief Executive Officer

(“CEO”) of the Company since November 2011, President since January 2011, Chairman of the

Board since January 2014, and a director since October 2011. He has also served as Chairman and

CEO of all of AEP’s major subsidiaries. He is Chair of the Executive Committee and a member

of the Policy Committee. Akins is a citizen of Ohio.

           17.   Defendant Brian X. Tierney (“Tierney”) has served as Chief Financial Officer

(“CFO”) of the Company since October 2009. Tierney is a citizen of Ohio.

           18.   Defendant Thomas E. Hoaglin (“Hoaglin”) has served as AEP’s Lead Director

since April 2012 and as a director since 2008. He is Chair of the Directors and Corporate

Governance Committee (“Governance Committee”) and a member of the Audit, Policy, and

Executive Committees. Hoaglin is a citizen of Ohio.

           19.   Defendant David J. Anderson (“Anderson”) has served as a director of the

Company since 2011. He is Chair of the Audit Committee and a member of the Executive,

Finance, and Policy Committees. Anderson is a citizen of Massachusetts.

           20.   Defendant J. Barnie Beasley, Jr. (“Beasley”) has served as a director of the

Company since 2014. He is Chair of the Nuclear Oversight Committee and a member of the

Human Resources and Policy Committees. Beasley is a citizen of Georgia.




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           21.   Defendant Ralph D. Crosby, Jr. (“Crosby”) has served as a director of the Company

since 2006. He is Chair of the Human Resources Committee and a member of the Executive,

Nuclear Oversight, and Policy Committees. Crosby is a citizen of Virginia.

           22.   Defendant Art A. Garcia (“Garcia”) has served as a director of the Company since

2019. He is Chair of the Finance Committee and a member of the Audit, Governance, and Policy

Committees. Garcia is a citizen of Florida.

           23.   Defendant Linda A. Goodspeed (“Goodspeed”) has served as a director of the

Company since 2005. She is a member of the Audit, Policy, and Nuclear Oversight Committees.

Goodspeed is a citizen of Florida.

           24.   Defendant Sandra Beach Lin (“Lin”) has served as a director of the Company since

2012. She is a member of the Audit, Governance, and Policy Committees. Lin is a citizen of

Texas.

           25.   Defendant Margaret M. McCarthy (“McCarthy”) has served as a director of the

Company since 2019. She is a member of the Audit, Policy, and Nuclear Oversight Committees.

is a citizen of Massachusetts.

           26.   Defendant Richard C. Notebaert (“Notebaert”) has served as a director of the

Company since 2011. He is a member of the Governance, Policy, Finance, and Human Resources

Committees. Notebaert is a citizen of Florida.

           27.   Defendant Lionel L. Nowell III (“Nowell”) has served as a director of the Company

since 2004. He is a member of the Governance, Policy, and Finance Committees. Nowell is a

citizen of Florida.




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           28.   Defendant Stephen S. Rasmussen (“Rasmussen”) has served as a director of the

Company since 2012. He is a member of the Governance, Policy, Finance, and Human Resources

Committees. Rasmussen is a citizen of Iowa.

           29.   Defendant Oliver G. Richard, III (“Richard”) has served as a director of the

Company since 2013. He is Chair of the Policy Committee and a member of the Human Resources

and Nuclear Oversight Committees. Richard is a citizen of Louisiana.

           30.   Defendant Sara Martinez Tucker (“Tucker”) has served as a director of the

Company since 2009. She is a member of the Governance, Policy, and Human Resources

Committees. Tucker is a citizen of Texas.

           31.   Defendants Akins, Tierney, Hoaglin, Anderson, Beasley, Crosby, Garcia,

Goodspeed, Lin, McCarthy, Notebaert, Nowell, Rasmussen, Richard, and Tucker are sometimes

referred to hereinafter as the “Individual Defendants.”

Relevant Non-Party

           32.   Daryl Roberts (“Roberts”) has served as a director of the Company since December

2020.

IV.        DUTIES OF THE INDIVIDUAL DEFENDANTS

           A.    Fiduciary Duties

           33.   By reason of their positions as officers, directors, and/or fiduciaries of AEP and

because of their ability to control the business and corporate affairs of AEP, at all relevant times,

the Individual Defendants owed AEP and its shareholders fiduciary obligations of good faith,

loyalty, and candor, and were required to use their utmost ability to control and manage AEP in a

fair, just, honest, and equitable manner. The Individual Defendants were required to act in

furtherance of the best interests of AEP and its shareholders so as to benefit all shareholders equally

and not in furtherance of their personal interest or benefit. Each director and officer of the

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Company owes to AEP and its shareholders a fiduciary duty to exercise good faith and diligence

in the administration of the affairs of the Company and in the use and preservation of its property

and assets, and the highest obligations of fair dealing.

           34.   The Individual Defendants, because of their positions of control and authority as

directors and/or officers of AEP, were able to and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein. Because of their advisory, executive, managerial,

and directorial positions with AEP, each of the Individual Defendants had knowledge of material

non-public information regarding the Company.

           35.   To discharge their duties, the officers and directors of AEP were required to

exercise reasonable and prudent supervision over the management, policies, practices and controls

of the Company. By virtue of such duties, the officers and directors of AEP were required to,

among other things:

                 (a)    Exercise good faith to ensure that the affairs of the Company were
                        conducted in an efficient, business-like manner so as to make it possible to
                        provide the highest quality performance of their business;

                 (b)    Exercise good faith to ensure that the Company was operated in a diligent,
                        honest, and prudent manner and complied with all applicable federal and
                        state laws, rules, regulations and requirements, and all contractual
                        obligations, including acting only within the scope of its legal authority;

                 (c)    Exercise good faith to ensure that the Company’s communications with the
                        public and with shareholders are made with due candor in a timely and
                        complete fashion; and

                 (d)    When put on notice of problems with the Company’s business practices and
                        operations, exercise good faith in taking appropriate action to correct the
                        misconduct and prevent its recurrence.




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           B.     Governance Committee Charter

           36.    The Governance Committee is responsible for, among other things, developing a

set of corporate governance principles applicable to AEP and “[o]therwise taking a leadership role

in shaping the corporate governance of the corporation.”

           37.    The committee’s charter provides certain “functions [which] shall be the common

recurring activities of the Committee in carrying out its responsibilities.” In relevant part, the

charter lists the following:

           C.     Corporate Governance

                                          *       *       *

                  4. Oversee on a continuing basis the implementation of the AEP Corporate
           Compliance Program, including reporting by the chief compliance officer, the
           development of specific programs of legal compliance in various important areas
           of concern to the operation of AEP System companies, and the designation of
           successor chief compliance officers.

                                          *       *       *

                  6. Oversee the Company’s Sustainability Report, including the portion of
           the report that relates to the Company’s political contributions

           C.     Audit Committee Charter

           38.    The Audit Committee is responsible for the “[t]he quality and integrity of the

Company’s financial statements” and “[t]he company’s process for identifying and managing

major risks, including strategic, operational, and financial risks.”

           39.    The Audit Committee’s charter also lists “functions [which] shall be the common

recurring activities of the Committee in carrying out its responsibilities.” In particular, the Audit

Committee must “[o]versee the process of identifying major enterprise risks, including strategic,

operational, and financial risks, and assure that all such risks are communicated to the Board for

assignment of oversight among the Board and its Committees.”



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           D.    Policy Committee Charter

           40.   The Policy Committee is “responsible for examining the Company’s policies on

major public issues affecting the Company and its subsidiaries, including environmental, industry

change and other matters, as well as established policies that affect the relationship of the

Committee and its subsidiaries to their service areas and the general public.” The committee’s

charter further provides that members should “[c]ounsel the Chief Executive Officer and other

members of management on any policy matters presented to the Committee for its consideration

and study.”

V.         SUBSTANTIVE ALLEGATIONS

           A.    Background

                 1.     AEP’s Operations

           41.   AEP is an electric utility holding company that generates, transmits, and distributes

electricity. Its subsidiary, Ohio Power Co. (“OPCo”), is registered as AEP Ohio and transmits and

distributes electricity to nearly 1.5 million retail customers in Ohio, which is roughly 30% of the

Company’s total customers.

           42.   Approximately 30% of the energy AEP generates in Ohio comes from two coal-

fired plants, Kyger Creek (in Cheshire, Ohio) and Clifty Creek (in Madison, Indiana). The plants

are owned by Ohio Valley Electric Corporation (“OVEC”), a consortium of utility companies

including AEP and FirstEnergy Corp. According to the Inter-Company Power Agreement

(“ICPA”), the sponsoring companies are entitled to receive and are obligated to pay for all OVEC

capacity in proportion to their power participation ratio. AEP owns 43.47% of OVEC, the largest

stake among the owners.

           43.   Coal-fired plants are subject to strict environment compliance requirements from

the U.S. Environmental Protection Agency (“EPA”), North American Reliability Corporation

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(“NERC”), and state public utility laws, among others. Adhering to these requirements is costly.

For example, defendant Akins noted in July 2019 that AEP has “invested nearly $9 billion in

capital since 2000 to drastically cut emissions from our coal-fueled power plants.”

           44.   Moreover, OVEC coal plants have been selling electricity for less than the cost to

generate since 2012.      As a result, and due to the compliance requirements, OVEC had

approximately $1.3 billion of debt and only $3 million in net income for fiscal 2019.

                 2.     The Passage of HB6 and The Related Criminal Convictions

           45.   In July 2019, Ohio passed House Bill 6 (“HB6”), which provided a $1.3 billion

ratepayer-funded bailout to the power plants owned by OVEC. HB 6 enacted a monthly fee ($0.85

for residential customers and $2,400 for major industrial plants) to send to the failing power plants.

The bill also removed incentives for solar and wind projects and eliminated programs that helped

residents use less power through energy-saving appliances or upgraded systems.

           46.   HB6 was widely unpopular. A campaign was launched to add a referendum on the

bill in the 2020 election to remove it.

           47.   On July 21, 2020, a criminal complaint and supporting affidavit were unsealed,

detailing an elaborate bribery scheme in which certain utility companies paid $60 million to Ohio

House Speaker Larry Householder (“Householder”), which was funneled through 501(c)(4)

organizations called “Generation Now” and “Energy Pass-Through.”               Householder secretly

controlled Generation Now and used these funds to pay his campaign staff and the campaigns of

21 other state candidates in the 2018 primary and general elections. Once he became House

Speaker, Householder secured the passage of HB 6 in return for the utility companies.

           48.   Ohioans for Energy Security, another group supported by the payments, financed

advertisements to undermine the referendum efforts, including ones warning Ohioans that the

Chinese would take over the state’s energy grid if the bailout was repealed. Generation Now also

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hired top signature collection firms to thwart the repeal efforts and prevent them from gathering

the signatures necessary to put the proposed referendum on the ballot.

           49.   Householder’s associates, Jeff Longstreth and Juan Cespedes, have pled guilty to

violations of Racketeer Influenced and Corrupt Organizations (“RICO”) Conspiracy and face up

to 20 years in prison and fines up to $250,000. As part of the plea agreement, Longstreth admitted

to participating in the organization and management of Generation Now “as a mechanism to

receive undisclosed donations to benefit HOUSEHOLDER and to advance HOUSEHOLDER’s

efforts to become Speaker of the Ohio House of Representatives.” And in a separate statement of

facts, Cespedes admitted to his participation in a larger conspiracy to obtain Generation Now

donations “in return for specific official action by Householder relating to the passage and

preservation of legislation that would go into effect and save the operation of two nuclear plants

in Ohio” and to block the ballot campaign to overturn the $1 billion bailout for the plants in HB6.

           50.   On January 29, 2021, Generation Now pled guilty to one count of racketeering for

its role, agreeing to a term of not more than 5 years’ probation, fines up to $250,000, fees, and the

forfeiture of bank accounts with balances exceeding $1.5 million. Generation Now admitted that

it was created for the express purpose “to be used as a mechanism to receive undisclosed donations

to benefit HOUSEHOLDER and to advance HOUSEHOLDER’s efforts to become Speaker of the

Ohio House of Representatives.” See Plea Agreement, United States v. Generation Now, No. 1:20-

CR-00077-TSB (S.D. Ohio Feb. 5, 2021). In return for the funds, the companies would benefit

from “specific official action [regarding] legislation that would go into effect and save the

operation of two nuclear power plants in Ohio.” Id.




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           B.     The Individual Defendants Knew of AEP’s Involvement in the Householder
                  Criminal Enterprise

           51.    Between 2017 and 2019, AEP donated $900,000 through its non-profit,

Empowering Ohio’s Economy (“EOE”), to Generation Now and Coalition for Growth &

Opportunity, which are directly linked to Householder and his associates. AEP was the sole

contributor to EOE. As alleged herein, EOE was used as a smoke screen for the Company to divert

funds to finance the passage of HB6 while concealing AEP’s involvement in the bribery scheme.

                  1.      AEP’s Executives Worked Directly With Householder’s Enterprise to
                          Shape HB6

           52.    HB6 was a priority for AEP. Not only did the bill generate about $50 million

annually to subsidize the two coal-fired plants, it would also avoid repeating the financial calamity

from 2016 when AEP was forced to record a $2.3 billion impairment charge because of “a

decreasing likelihood of cost recovery through regulatory proceedings or legislation in the state of

Ohio.” According to an email exchange between AEP’s in-house counsel and a consultant for

Householder’s policy advisor, “avoid[ing] any impairment for the Company [was] a critical

component” of HB6:

           This proposal creates a regulatory asset – to be recovered as a distribution expense
           through subsequent rate cases only if the clean air fund does not fully reimburse the
           Company. So there is no new nonbypassable charge and no immediate rate impact
           (beyond eliminating our current bypassable AER charge). This approach avoids
           any impairment for the Company – which is a critical component for the
           Company as we discussed last week . . . .

           53.    Several AEP executives were closely involved in the passage of HB6. Tom Froehle

(“Froehle”), the Vice President of External Affairs of AEP and AEP’s top lobbyist, served as a

director of EOE and thus knew of the use of funds that AEP had contributed to the non-profit.

Froehle simultaneously advocated for AEP’s interests in the passage of HB6. For example, he

sent an email to the Ohio House of Representatives on May 22, 2019 stating that “American


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Electric Power – Ohio supports House Bill 6” and that “[t]his bill will allow AEP Ohio to make

investments that our customers have been asking us to provide.” He signed the letter in his capacity

as VP of External Affairs for AEP.

           54.    Froehle also testified in support of HB6 on behalf of AEP. On June 12, 2019, he

testified before Ohio’s Energy and Public Utilities Committee during its second hearing on HB6,

stating:

           House Bill 6 addresses Ohio’s increasing reliance on out-of-state generation. This
           bill addresses legacy generation issues that have been plaguing the state for
           nearly a decade. It will allow AEP Ohio to make investments in renewables that
           our customers have been asking us to provide. Specifically investments that help
           drive economic development in the state. As a result, this legislation will keep and
           bring jobs to the state of Ohio.

           AEP is focused on bringing more renewable energy resources into our generation
           mix throughout our 11 state territory for the last several years. Furthermore, all
           sectors of AEP Ohio customers are increasingly seeking renewable energy sources
           for their electricity supply. Some large commercial customers have also expressed
           a desire for renewable power from AEP Ohio. Having these resources readily
           available helps make Ohio a more attractive place for these companies to locate and
           expand their operations.

           HB 6 would allow AEP Ohio to offer renewable energy services to our customers
           and pose no financial risk to other customers – this is an economic development
           tool that AEP Ohio has been seeking clarity on for several years.

           As it relates to Ohio Valley Electric Corporation (OVEC), HB 6 provides ongoing
           certainty for an important and longstanding baseload generating asset. The bill
           also includes rates caps for customers while allowing for the continued operation
           of OVEC generating units, which will provide certainty for AEP Ohio’s
           customers and Ohio jobs.

           Finally, this legislation would allow Ohio’s electric utilities to offer voluntary
           energy efficiency plans similar to those operated by the state’s natural gas utilities,
           a model we believe can be successful. House Bill 6 in its current form allows for
           AEP Ohio to finish implementation of currently-approved plans and phase out the
           programs.

           AEP Ohio believes this legislation puts Ohio on the path of a balanced energy
           policy that provides benefits to all customers in this state.




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           55.    AEP worked directly with Householder and his associates to craft HB6 to the

Company’s benefit. For example, on May 9, 2019, AEP’s in-house counsel Steven T. Nourse,

Denny Larr of Larr Policy Consulting sent an email confirming that their discussions about the

bill’s provisions were funneled to Householder and his Senior Policy Advisor, Pat Tully:

           While we are very grateful and appreciative of everyone working to reach a
           consensus position, the bottom line is this language is now in Pat Tully’s hands
           and it will be up to him and Speaker Householder to make the final determination
           as to how they would like to address this matter. Perhaps we should just let them
           look at the language and make their decision. After all, ultimately that is the final
           authority at this time.

           56.    Moreover, on June 24, 2019 – i.e., one month before HB6 was signed into law –

AEP’s Director of Government Affairs, Maria L. Haberman, sent proposed amendments for HB6

to Pat Tully. The following amendments were ultimately incorporated into the final bill that was

signed into law and sought to “ensure continuous OVEC cost recovery through 2030” for AEP:

           D. Clarifying amendments for continuous OVEC net impact recovery through
           2030

           (1) Amend definition of “‘prudently incurred costs related to a national security
           generation resource” in section 4928.0l(A)(42) of the Revised Code as follows:

           • In line 1259 after the word “former”, insert the following language: “sponsor
           under such power agreement or”

                                             *      *       *

           (3) Amend new section 4928.148 of the Revised Code as follows:

           • In line 1386, insert the following after the comma: “including recovery of any
           deferrals that exist at that time,”

                  2.      The Board Knew of the Company’s Substantial Contributions to
                          Generation Now

           57.    The Board reviewed and discussed the Company’s political contributions, thus the

directors knew, or had reason to know, of the contributions to Generation Now, including through

EOE:


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            (a)




            (b)




            (c)




            (d)




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           58.   The Board had reason to know of the contributions to EOE and either controlled

the use of its donations or had reason to know of the purpose of the contributions. Froehle

contemporaneously served AEP and EOE. Moreover, James B. Hadden, an attorney who had

represented AEP, served as President and director of EOE. EOE’s directors, including those

connected to AEP, directed the Company’s contributions to Householder’s criminal enterprise.

           59.   The Board also reviewed and discussed HB6 specifically.       In light of the

amendments proposed by AEP, which were in fact adopted into law, these discussions raise a

reasonable inference that the Board either directed AEP’s engagement and involvement with

Householder or had knowledge of it:

                 (a)




                 (b)




           60.




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                 (a)




                 (b)




           61.   AEP’s PAC and its executives also made contributions to Householder’s campaign

directly:

                 (a)    According to the Energy and Policy Institute and the Columbus Dispatch,

on May 20, 2019, AEP’s PAC contributed to $12,500 to Householder’s June 6, 2019 birthday

fundraiser. According to the federal affidavit in the criminal case against Householder, this

fundraiser was held one day before the week Generation Now was set to spend $2 million on media

in support of H6.

                 (b)    Between October 18 and November 18, 2019, 39 AEP employees

contributed to Householder’s campaign. The largest contribution was from defendant Akins, who

donated $5,000. Specifically:


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           11/7/2019 Householder event:

                 x   $1,500 from Lisa Barton, AEP’s executive vice president of utilities, who
                     oversees the activities of all of the utility’s operating companies

                 x   $1,500 from Lana Hillebrand, AEP’s chief administrative officer

                 x   $1,500 from Charles Patton, AEP’s executive vice president of external
                     affairs

                 x   $1,500 from Charles Zebula, AEP’s executive vice president of energy
                     supply

                 x   1,500 from Raja Sundararajan, president and CEO of AEP Ohio

           11/17/2019 Householder event:

                 x   $1,500 from David Feinberg, AEP’s executive vice president, general
                     counsel and secretary

                 x   $1,500 from Mark McCollough, AEP executive vice president of
                     transmission

                 x   $1,000 from Paul Chodak, executive vice president of generation

           Brian Tierney, AEP’s chief financial officer contributed an additional $1,500 on
           November 17[, 2019].

                     (c)    AEP also contributed to seven Ohio state representatives after they joined

the 15-member Ohio House Select Committee on Energy Policy and Oversight, which was tasked

with repealing and replacing HB6. The Company’s PAC contributed a total of $7,500 to the

campaigns of seven state representatives in September 2020.

           62.       During AEP’s conference call held in connection with the second quarter 2020

financial results, defendant Akins admitted that “Starting in 2015, AEP contributed a total of $8.7

million to Empowering Ohio’s Economy.” He stated that “publicly available tax forms filed by

Empowering Ohio’s Economy shows that it made a number of grants over time to a wide variety

of charitable organizations under 501(c)(3) and social welfare organizations under 501(c)(4).” The

grant agreement between EOE and Generation Now shows that the contributions were precisely


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of the type used in connection with the Householder bribery scandal. Specifically, the agreement

permits Generation Now to use AEP’s contributions for “educating, equipping, mobilizing our

citizens to take action on critical economic and legislative issues,” and EOE’s 2019 Form 990

confirms that it “received documentation from the organization that received grants during the year

which ensures the funds are not otherwise diverted from their intended use.”

           63.   During the same conference call, defendant Akins also acknowledged that the

Company’s disclosures with respect to political donations were incomplete in that 501(c)(4)

organizations are not required to disclose their donors. Defendant Akins stated that “[w]ith that in

mind, we will commit to include additional disclosures in our corporate accountability report with

respect to contributions that we made to 501(c)(4) organizations in 2020 and going forward.”

           64.




           65.




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           C.     The Individual Defendants Cause the Company to Issue Materially Misleading
                  Statements

           66.    On April 25, 2019, AEP held a conference call to discuss its first quarter 2019

financial results. During the call, defendant Tierney stated that while AEP “is supportive of the

Ohio House leadership’s focus and efforts,” the company identified “certain issues that must be

addressed.” Specifically, he stated:

           Now to the Ohio clean air fund legislation. The company is supportive of the Ohio
           House leadership’s focus and efforts on addressing key energy policy issues that
           have plagued the state for years. In order for the legislation to benefit all Ohio
           customers, there are certain issues that must be addressed.

           First, an elimination of the renewable portfolio standard should be replaced with
           the opportunity for utilities to voluntarily develop economic renewable resources
           in the state. In addition, contracts entered into under the existing renewable
           portfolio standard must be grandfathered so as to not punish utilities who are
           compliant with Ohio law.

           Second, in regards to energy efficiency. AEP is concerned about a rapid elimination
           of EE programs that have benefited our customers for many years. In lieu of
           immediate elimination of EE programs, previously approved plans should be
           phased out over the next several years. We look forward to working with lawmakers
           during the process to achieve a balanced energy bill that provides benefits to all
           Ohio customers.

           67.    During the same call, defendant Tierney emphasized that AEP was interested in

benefitting “all Ohio customers” and that “[i]f it’s just a bailout for one company or another, it’s

not as beneficial to all Ohio customers.” Specifically, he stated:

           [PAUL PATTERSON:] Okay. And then with respect to the Ohio legislation,
           previously, you guys, I think, had concerns about AEP utility ratepayers paying for
           other companies’ nuclear plants. How do you guys feel about HB 6 as it currently
           stands? I mean I know you raised a couple of the issues in your prepared remarks
           this morning. Can you just give a little more color on that?

           [BRIAN X. TIERNEY:] So we think if there’s a full package where all of Ohio
           customers can benefit, then it's a worthy effort. If it’s just a bailout for one company

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           or another, it’s not as beneficial to all Ohio customers. So there needs to be a full
           package of things that get addressed. And energy efficiency, the renewable
           portfolio standard, ability of utilities to invest in renewables going forward are all
           important things that need to be in the bill. And if they’re not, it’s not as beneficial
           for ratepayers in the state.

           68.    The above statements in ¶¶ 66-67 were materially misleading because they failed

to disclose that: (1) AEP did not support HB6 as it was introduced to the House in April 2019

because it lacked any cost-recovery provision as to AEP’s own coal-fired plants; (2) the Company

made substantial contributions to Householder’s criminal enterprise to secure a bailout for AEP’s

plants; and (3) these contributions were directed through the Company’s non-profit, EOE, so as to

conceal AEP’s involvement and to work around the Company’s policy providing that “AEP cannot

lawfully make Corporate Political contributions to candidates for elected office.”

           69.    On May 9, 2019, the Individual Defendants caused AEP to release its 2019

Corporate Accountability Report, available at www.aepsustainability.com, in which the Company

disclosed its lobbying and political contributions:

           Lobbying and Political Contributions

                                              *       *       *

           The investments needed to modernize the power grid are in the billions of dollars,
           and the stakes have never been higher. To understand the policies and regulations
           that could affect our business, we participate in a number of organizations, lobby
           on our customers’ behalf and contribute to political candidates, where allowed
           by law.

           Each year, AEP publicly discloses lobbying activities and political contributions.
           We also annually report on the portions of membership dues paid to organizations
           such as the U.S. Chamber of Commerce and Edison Electric Institute (EEI) that go
           toward lobbying. We post our lobbying policy online and we discuss political
           contributions annually with AEP’s Board of Directors’ Committee on Directors and
           Corporate Governance.

                                              *       *       *




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           We believe in transparency and active participation in public debate. Our
           experience is that open, candid discussion and a good-faith attempt to reach
           common ground is the best way to do business.

           70.       The above statements in ¶ 69 were materially misleading because they failed to

disclose that: (1) the Company made substantial contributions to Householder’s criminal enterprise

to secure a bailout for AEP’s plants; and (2) these contributions were directed through the

Company’s non-profit, EOE, so as to conceal AEP’s involvement and to work around the

Company’s policy providing that “AEP cannot lawfully make Corporate Political contributions to

candidates for elected office.”

           71.       On July 25, 2019, the Individual Defendants caused AEP to file its quarterly report

on Form 10-Q with the SEC for the period ended June 30, 2019 (the “2Q19 10-Q”). It contained

certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by defendants Akins

and Tierney attesting that the “report does not contain any untrue statement of a material fact or

omit to state a material fact necessary to make the statements made, in light of the circumstances

under which such statements were made, not misleading with respect to the period covered by this

report.” The 2Q19 10-Q stated that management “cannot estimate the impact on results of

operations, cash flows or financial condition” of HB6 because the Company was “analyzing the

impact of this legislation.” Specifically, it stated:

                 x   In July 2019, clean energy legislation which offers incentives for power-
                     generating facilities with zero- or reduced carbon emissions was signed into
                     law by the Ohio Governor. The clean energy legislation phases out current
                     energy efficiency and renewable mandates after 2020 and 2026,
                     respectively. The bill also provides for the recovery of existing renewable
                     energy contracts on a bypassable basis through 2032 and includes a
                     provision for recovery of certain legacy generation resources which will be
                     allocated to all electric distribution utilities on a non-bypassable basis.
                     Management is analyzing the impact of this legislation and at this time
                     cannot estimate the impact on results of operations, cash flows or
                     financial condition.



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           72.    The above statements in ¶ 71 were materially misleading because they failed to

disclose that: (1) AEP’s executives worked directly with Householder to add cost recovery

provisions to the bill while Froehle advocated for the same provisions in the Ohio legislature; (2)

AEP calculated how HB6 would impact the Company’s financial performance, including that it

would allow AEP to avoid impairment charges; (3) the Company made substantial contributions

to Householder’s criminal enterprise to secure a bailout for AEP’s plants; and (4) these

contributions were directed through the Company’s non-profit, EOE, so as to conceal AEP’s

involvement and to work around the Company’s policy providing that “AEP cannot lawfully make

Corporate Political contributions to candidates for elected office.”

           73.    The same day, the Company held a conference call in connection with the release

of its second quarter 2019 financial results. During the call, defendant Akins discussed HB6,

stating:

           Now onto the next hot issue, the Ohio House Bill 6 legislation. Governor DeWine
           earlier this week signed legislation that will provide support to the nuclear units in
           Ohio as well as support for the OVEC generating units. While the legislation phases
           out the RPS mandate after 2026, it still provides benefits for the recovery of existing
           renewable contracts until 2032 and provides additional support for solar projects
           that have already received signing approval, including our 400 megawatts of
           proposed solar project, which can also collect from the same clean energy fund as
           the nuclear units.

           So to reiterate, as far as AEP is concerned, we see positives from this legislation
           for us, namely recovery of OVEC collected – that’s collected on a statewide basis
           through 2030. Secondly, recovery of our existing renewable contracts entered into
           to comply with previous legislation and approved by the PECO. The opportunity
           for AEP Ohio to enter into bilateral contracts with certain customers. This one is an
           important issue for AEP as we have had specific requests from various customers
           for AEP Ohio to be the provider of renewable resources in addition to being the
           wires provider.

           And fourth, the ability for solar projects that have siting board approval to access
           the $20 million of the clean air funds, which includes the 400 megawatts of solar
           that we now have before the PECO. The access to these funds make these particular
           projects even more beneficial for customers and, as you recall, the request for these


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           projects include a $6 million per year debt equivalency rider to maintain AEP
           Ohio's capital structure.

           And finally, the net impact of HB 6 will provide headroom to our rate payers, which
           will enable potential additional distribution investments to improve the customer
           experience and grid reliability.

           AEP does believe in the importance of nuclear generation as a part of the portfolio
           of this country and the State of Ohio. We congratulate Speaker Householder; Senate
           President Obhof; Governor DeWine; Lieutenant Governor Husted and Chairman
           Randazzo, along with many other members of the Ohio legislature in balancing the
           interest of a need for a balanced portfolio, employment and economic development
           issues and customer benefits.

           74.    The above statements in ¶ 73 were materially misleading because they failed to

disclose that: (1) the Company made substantial contributions to Householder’s criminal enterprise

to secure a bailout for AEP’s plants; and (2) these contributions were directed through the

Company’s non-profit, EOE, so as to conceal AEP’s involvement and to work around the

Company’s policy providing that “AEP cannot lawfully make Corporate Political contributions to

candidates for elected office.”

           75.    On September 16, 2019, the Individual Defendants caused AEP to publish a

newsletter entitled “Regulatory News: What’s going on with PJM’s BRA and House Bill 6?” In

the newsletter, AEP explained HB6 and its impact on the Company, stating:

           What is Ohio’s HB 6?

           When initially introduced, the purpose of the legislation was for all Ohio electricity
           customers to pay to keep open Lake County’s Perry and Ottawa County’s Davis-
           Besse nuclear plants, owned by FirstEnergy Solutions (FES), a subsidiary of
           FirstEnergy Corp. However, the goal of the legislation expanded to support
           additional renewable energy resources while eliminating certain utility energy
           efficiency activities and renewable portfolio compliance standards. The
           expansion to HB 6 came with the expectation that distribution charges would be
           reduced by eliminating the energy efficiency rider charge while promoting clean
           air resources.

           On July 24, 2019, Ohio Governor Mike DeWine signed into law HB 6 . This law
           creates the Nuclear Generation Fund and the Renewable Generation Fund, to be
           administered by the Ohio Air Quality Development Authority. These funds allow

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           for a “qualifying nuclear resource” or a “qualifying renewable resource” to be
           eligible for participation in the programs for one or more program years, as
           determined by the Authority.

                                             *       *       *

           What are the details of each provision in HB 6?

                                             *       *       *

           Renewable Funding Opportunity

           HB 6 supports eligible solar facilities over 50MW that already have siting
           certification as of June 2019. AEP Ohio has two eligible solar renewable facilities
           located in Highland County. These are the Willowbrook project (100MW) and the
           Hecate project (300MW).

           Through the renewable funding opportunity, a $9 per MWh credit is paid to
           project owners of eligible solar facilities for a total of $20 million annually, which
           covers about 1,000MW of solar. This credit is assessed from the $20 million
           renewable portion of the Clean Air Fund as described above.

           OVEC Statewide Recovery

           The Ohio Valley Electric Corporation (OVEC) and the Indiana-Kentucky Electric
           Corporation (IKEC) are generating stations originally built in the 1950s and
           provided electric power for the U.S. Department of Energy’s uranium enrichment
           facilities then near Portsmouth, Ohio. Today, OVEC and IKEC own two coal power
           plants; Kyger Creek Generating Station (1.1GW) in Cheshire, Ohio and Clifty
           Creek Generating Station (1.3GW) in Madison, Indiana. Under HB 6, OVEC and
           IKEC will receive subsidies to support their coal-fired power plants.

           Effective January 1, 2020, distribution customers throughout Ohio will incur a
           non-bypassable charge, called the Purchased Power Agreement (PPA) Rider.
           The rider for residential customers is $1.50 per month. Commercial and
           industrial customers’ monthly charge is $1,500 for this rider. The PPA Rider will
           begin in 2021 and will be reviewed by the Commission every three years to
           determine continuation of the rider, which is to end December 31, 2030.

           Reduced Renewable Portfolio Standards

           In 2008, the State of Ohio established their Renewable Portfolio Standards (RPS)
           policy. This policy required providers selling electricity to consumers to provide a
           specific percentage of that supply from renewable sources. Currently, the RPS
           policy states 12.5% of your electricity must come from renewable energy sources
           by 2027, with 0.5% required to be solar.



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           HB 6 reduces the RPS target for utilities and competitive retail energy suppliers
           to 8.5%, and the solar portion is eliminated by December 31, 2026. This means
           that most Ohio customers will see a price reduction by the elimination of RPS
           requirements effective January 1, 2027. However, an AEP Ohio customer should
           read the section below on the AEP Ohio bypassable renewable legacy charge, as
           you will continue to receive this charge through 2032.

           76.    The same newsletter also discussed the referendum to repeal HB6, stating:

           Potential Referendum on Ohio HB 6

           Groups are forming a campaign to add a referendum on the November 2020 ballot
           to repeal HB 6. Opponents include environmental groups opposed to the
           elimination of energy efficiency programs and developers of natural gas-fired
           power plants opposed to the subsidy for nuclear generation. These groups are
           circulating a petition, seeking 1,000 signatures from registered Ohio voters in hopes
           of adding a referendum to the 2020 election.

           The petition was approved by the Ohio Attorney General David Yost on August
           29, 2019. The next step opponents will take is to obtain approximately 266,000
           additional signatures to place the petition on the November 2020 ballot for a vote.
           Finally, a majority vote is needed to approve the petition for the repeal of HB 6.

           Meanwhile FES [FirstEnergy Solutions Corp., now Energy Harbor Corp.] filed
           a challenge to the petition with the Supreme Court of Ohio on September 4,
           stating HB 6 is a tax and tax laws are exempt from referendums.

           This petition process will take a long time before being resolved and may create
           market uncertainty for everyone at each step of the process. This uncertainty may
           impact energy supply plans and strategies for all involved.

           77.    The above statements in ¶¶ 75-76 were materially misleading because they failed

to disclose that: (1) the Company made substantial contributions to Householder’s criminal

enterprise to secure a bailout for AEP’s plants; (2) these contributions were directed through the

Company’s non-profit, EOE, so as to conceal AEP’s involvement and to work around the

Company’s policy providing that “AEP cannot lawfully make Corporate Political contributions to

candidates for elected office.”; and (3) AEP contributed to fund the opposition to the referendum.

           78.    On October 24, 2019, the Individual Defendants caused AEP to file its quarterly

report on Form 10-Q with the SEC for the period ended September 30, 2019 (the “3Q19 10-Q”).



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The report contained SOX certifications signed by defendants Akins and Tierney attesting that the

“report does not contain any untrue statement of a material fact or omit to state a material fact

necessary to make the statements made, in light of the circumstances under which such statements

were made, not misleading with respect to the period covered by this report.” Regarding HB6, the

3Q19 10-Q stated:

           In July 2019, clean energy legislation which offers incentives for power-generating
           facilities with zero or reduced carbon emissions was signed into law by the Ohio
           Governor. The clean energy legislation phases out current energy efficiency and
           renewable mandates no later than 2020 and after 2026, respectively. The bill
           provides for the recovery of existing renewable energy contracts on a bypassable
           basis through 2032. The clean energy legislation also includes a provision for
           recovery of OVEC costs through 2030 which will be allocated to all electric
           distribution utilities on a non-bypassable basis. OPCo’s Inter-Company Power
           Agreement for OVEC terminates in June 2040. To the extent that OPCo is unable
           to recover the costs of renewable energy contracts on a bypassable basis by the end
           of 2032, recover costs of OVEC after 2030 or fully recover energy efficiency costs
           through 2020 it could reduce future net income and cash flows and impact financial
           condition.

           79.    The above statements in ¶ 78 were materially misleading because they failed to

disclose that: (1) the Company made substantial contributions to Householder’s criminal enterprise

to secure a bailout for AEP’s plants; and (2) these contributions were directed through the

Company’s non-profit, EOE, so as to conceal AEP’s involvement and to work around the

Company’s policy providing that “AEP cannot lawfully make Corporate Political contributions to

candidates for elected office.”

           80.    On February 20, 2020, the Individual Defendants caused AEP to file its annual

report on Form 10-K with the SEC for the period ended December 31, 2019 (the “2019 10-K”),

which was signed by the Individual Defendants. It also contained SOX certifications signed by

defendants Akins and Tierney attesting that the “report does not contain any untrue statement of a

material fact or omit to state a material fact necessary to make the statements made, in light of the



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circumstances under which such statements were made, not misleading with respect to the period

covered by this report.” The 2019 10-K stated, as to HB6:

           In January 2020, provisions enacted as part of Ohio Am. Sub. H.B. 6 went into
           effect that replace the PPA rider and enable OPCo to continue recovering the net
           cost associated with the ICPA [Inter-Company Power Agreement], including any
           additional contractual entitlement received as a result of the FirstEnergy Solutions
           (FES) bankruptcy, through 2030.

           81.    The above statements in ¶ 80 were materially misleading because they failed to

disclose that: (1) the Company made substantial contributions to Householder’s criminal enterprise

to secure a bailout for AEP’s plants; and (2) these contributions were directed through the

Company’s non-profit, EOE, so as to conceal AEP’s involvement and to work around the

Company’s policy providing that “AEP cannot lawfully make Corporate Political contributions to

candidates for elected office.”

           82.    On May 20, 2020, the Individual Defendants caused AEP to release its 2020

Corporate Accountability Report, in which the Company disclosed its lobbying and political

contributions:

           At AEP, we never have been more certain of our responsibility to a sustainable
           future for our customers, communities and employees. We will continue to take
           steps to reduce our carbon footprint, to empower customers and to value and
           develop our workforce. Together, our energy and future are truly boundless.

                                            *       *       *

           Public Policy & Issue Management

           Similar to other companies, AEP has a public policy strategy that seeks to inform
           decisions made by Congress, the Federal Energy Regulatory Commission (FERC),
           North American Electric Reliability Corporation (NERC), state legislatures and
           regulatory commissions, and Regional Transmission Organizations (RTOs).

           AEP’s Policy Advisory Team (PAT), consisting of senior executives across all
           business functions and departments, considers policy options on issues of relevance
           to the company and supports internal policy analysis and debate. This approach
           ensures that AEP is speaking with one voice and that all employees with external



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           contacts are clear on our policy positions and objectives. Since its inception in May
           2017, the PAT has reviewed more than two dozen issues, including 13 in 2019.

                                             *       *       *

           Climate & Lobbying

           Some stakeholders are asking AEP whether our lobbying practices and the policy
           positions taken by trade organizations to which we belong are in alignment with
           the Paris Climate Agreement. We believe in transparency and active participation
           in public policy development, regardless of the issue or position. Moreover, AEP
           is a respected and sought-after voice when it comes to energy policyrelated matters
           in the U.S.

           We report on our public policy positions, annual lobbying and political
           contributions, policy on political contributions and trade association
           memberships. We post our lobbying policy online and have consistently
           acknowledged our intent to participate actively in the political process and in
           lobbying activities at the national, state and local levels. At AEP, we must consider
           a number of factors when engaging in this arena, as public policy develops through
           negotiation and compromise. While many divergent issues are of importance to us,
           we cannot invest all of our efforts to focus on a single issue. We are obligated to
           deliver safe, reliable, affordable and secure electricity to all of our customers, and
           we develop our public policy positions with that in mind.

           83.    The above statements in ¶ 82 were materially misleading because they failed to

disclose that: (1) the Company made substantial contributions to Householder’s criminal enterprise

to secure a bailout for AEP’s plants; and (2) these contributions were directed through the

Company’s non-profit, EOE, so as to conceal AEP’s involvement and to work around the

Company’s policy providing that “AEP cannot lawfully make Corporate Political contributions to

candidates for elected office.”

           D.     The Truth Begins to Emerge

           84.    On July 26, 2020, the Columbus Dispatch published an article entitled “Columbus

utility giant AEP funded dark money spending in HB 6 campaign,” revealing the Company’s

involvement in the passage of HB6. Specifically, it stated:

           A dark-money group wholly funded by House Bill 6 beneficiary and Columbus
           utility giant American Electric Power contributed $350,000 toward the


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           campaigns now at the center of a racketeering and bribery case that ensnared
           House Speaker Larry Householder, an investigation by The Dispatch finds.

           Empowering Ohio’s Economy Inc., a nonprofit operated solely with AEP funds,
           gave $150,000 to Generation Now, another dark-money group that received $60
           million from FirstEnergy-related interests to ensure passage and survival of a $1
           billion ratepayer bailout of a subsidiary’s pair of nuclear power plants.

           Empowering Ohio also gave $200,000 to the Coalition for Opportunity & Growth,
           which is related to a similarly named political action committee that spent $1
           million in the 2018 campaigns of Householder-favored Republican candidates to
           help ensure that he had their votes to become speaker.

           An affidavit filed by an FBI agent in the racketeering case details spending of
           $350,000 by an unidentified “interest group that was funded exclusively by $13
           million from another energy company that supported HB 6.”

           A source close to the investigation confirmed to The Dispatch that the energy
           company is American Electric Power, a publicly traded company that serves 5.5
           million customers in 11 states and earned $2.1 billion last year.

           The “social welfare” nonprofit is not required to disclose its donors or the source
           of its funding.

                                            *      *       *

           AEP benefited from the passage of House Bill 6 with its six-year-plus extension
           through 2030 of a monthly surcharge of up to $1.50 on Ohio [residential]
           electricity customers. Industrial and commercial customers can pay up to $1,500
           a month. The fee generates about $50 million a year to subsidize a pair of old
           coal-burning power plants it partly owns in a consortium with other utilities.

           The plants – Kyger Creek near Cheshire, Ohio, and Clifty Creek near Madison,
           Indiana – were built in the mid-1950s to supply electricity to the former uranium-
           enrichment plant near Piketon, Ohio. AEP owns the biggest stake in the coal plants
           at 43% and buys about 60% of the electricity generated by the plants.

                                            *      *       *

           American Electric Power’s political action committee contributed nearly $672,000
           to Ohio politicians and parties between 2016 and mid-2020, including $17,250 to
           Householder and $86,792 to the House Republicans’ campaign account.

                                            *      *       *

           Empowering Ohio’s Economy spent $162,500 on lobbying between 2016 and
           2018, according to its tax filings. The group was not registered with the state as
           attempting to influence legislation.

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           The Coalition for Opportunity & Growth, the independent-expenditure political
           action committee which received $200,000 from the AEP dark-money group in
           2017, the dark-money Coalition & Opportunity PAC that backed Householder
           candidates and Generation Now all were incorporated by Eric Lycan, a lawyer and
           Republican consultant in Lexington, Kentucky.

           While not identified in the affidavit, the Coalition for Opportunity & Growth cash
           went largely unused until early this year, when it went out to support Householder-
           blessed candidates in the GOP primary, the FBI affidavit said.

           It was laundered through the related PAC to conceal its association with
           Generation Now, the FBI affidavit states: “Generation Now had generated
           negative media publicity in 2019 and candidates expressed concern to
           Householder about their association with it.”

           The FBI affidavit said FirstEnergy interests provided $390,000 to the group, which
           paid $54,000 to Generation Now, $191,000 to a media-placement firm, $200,000
           to a public relations firm and $100,000 to JPL & Associates, a firm controlled by
           Jeff Longstreth, Householder’s top political aide. Longstreth is among those
           arrested and facing up to 20 years in prison if convicted in the H.B. 6 case.

                                            *      *       *

           Householder and four others were arrested Tuesday following an FBI investigation
           that captured phone calls, text messages and recordings of meetings centering
           around the alleged pay-to-play scheme described by U.S. Attorney Dave DeVillers
           as the largest public corruption case in Ohio history.

           85.    On this news, the Company’s share price fell $4.67 per share, or over 5%, to close

at $81.16 per share on July 27, 2020, on unusually heavy trading volume.

           86.    On December 2, 2020, additional details surfaced when Dayton Daily News

reported that AEP contributed $900,000 to the groups at the center of the HB6 scandal.

Specifically, the article stated:

           A nonprofit funded by Columbus-based American Electric Power gave $900,000
           over three years to two groups that don't have to disclose their donors and are
           involved in a federal public corruption investigation, records show.

           IRS documents filed in November and obtained by the Dayton Daily News show
           the nonprofit Empowering Ohio's Economy Inc. donated $550,000 in 2019,
           $50,000 in 2018 and $100,000 in 2017 to Generation Now, which federal
           prosecutors allege was the primary vehicle for funneling bribes to former Ohio
           House Speaker Larry Householder.


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                  a)      Expenses incurred in connection with investigations regarding AEP’s

involvement with HB6 and Householder’s criminal enterprise;

                  b)      Any funds paid to settle the Securities Class Action; and

                  c)      Costs incurred from compensation and benefits paid to the defendants who

have breached their duties to AEP.

           97.    In addition, AEP’s business, goodwill, and reputation with its business partners,

regulators, and shareholders have been gravely impaired. The Company still has not fully admitted

the nature of its false statements and the true condition of its business. The credibility and motives

of management are now in serious doubt.

           98.    The actions complained of herein have irreparably damaged AEP’s corporate image

and goodwill. For at least the foreseeable future, AEP will suffer from what is known as the “liar’s

discount,” a term applied to the stocks of companies who have been implicated in illegal behavior

and have misled the investing public, such that AEP’s ability to raise equity capital or debt on

favorable terms in the future is now impaired.

VII.       DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

           99.    Plaintiff brings this action derivatively in the right and for the benefit of AEP to

redress injuries suffered, and to be suffered, by AEP as a direct result of breaches of fiduciary duty

by the Individual Defendants, insider trading, and contribution for violations of Section 10(b) of

the Exchange Act. AEP is named as a nominal defendant solely in a derivative capacity. This is

not a collusive action to confer jurisdiction on this Court that it would not otherwise have.

           100.   Plaintiff will adequately and fairly represent the interests of AEP in enforcing and

prosecuting its rights.

           101.   Plaintiff has continuously been a shareholder of AEP at times relevant to the

wrongdoing complained of and is a current AEP shareholder.

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           102.   When this action was filed, AEP’s Board of Directors consisted of defendants

Akins, Hoaglin, Anderson, Beasley, Crosby, Garcia, Goodspeed, Lin, McCarthy, Notebaert,

Rasmussen, Richard, Tucker and non-party director Roberts. Plaintiff did not make any demand

on the Board to institute this action because such a demand would be a futile, wasteful, and useless

act, as set forth below.

           103.   Akins is the Company’s CEO, and therefore is not independent under NASDAQ

listing rules. As an employee, Akins derives substantially all of his income from his employment

with AEP, thus could not disinterestedly consider a demand for action that might require him to

sue the directors that control his continued employment and/or fellow members of management

with whom he works on a day-to-day basis. Moreover, as CEO and as alleged herein, Akins

personally issued the misleading statements alleged herein and faces a substantial risk of liability

in the Securities Class Action. As a result, Akins would be interested in a demand regarding his

own wrongdoing and demand is futile as to him.

           104.   Hoaglin, Garcia, Lin, Notebaert, Nowell, Rasmussen, and Tucker served as the

members of the Governance Committee at all relevant times. As such, they are responsible for the

Company’s corporate governance matters, including reviewing AEP’s political contributions. In

their capacities as Governance Committee members, as alleged herein, Hoaglin, Garcia, Lin,

Notebaert, Nowell, Rasmussen, and Tucker reviewed and discussed

                                                                                     , and therefore

knew or should have known of AEP’s contributions to EOE and Generation Now.1 Moreover, as



1
    In response to the Stockholder’s demand, Company counsel represented that


                                                                  However, defendant Akins
admitted that the Company had contributed $8.7 million to EOE since 2015, and the books and

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AEP is the sole contributor to EOE, these directors had reason to know that these funds would be

used to improperly influence the environmental legislation in Ohio through Householder,

including through Froehle who simultaneously served EOE as director and AEP as VP of External

Affairs. Thus, the Governance Committee members knew or recklessly ignored the bribery

activities which presented a risk of regulatory and criminal scrutiny of AEP. As alleged herein,

Hoaglin, Garcia, Lin, Notebaert, Nowell, Rasmussen, and Tucker breached their fiduciary duties

and are not disinterested, and demand is excused as to them.

           105.   Hoaglin, Anderson, Garcia, Godspeed, Lin, and McCarthy served as the members

of the Audit Committee at all relevant times. As such, they are responsible for the effectiveness

of the Company’s internal controls, the integrity of its financial statements, and its compliance

with laws and regulations. In their capacities as Audit Committee members, Hoaglin, Anderson,

Garcia, Godspeed, Lin, and McCarthy reviewed and approved the disclosures regarding the impact

of HB6 on the Company’s operations. These directors also knew of OVEC dire financial

condition, as it had approximately $1.3 billion of debt with only $3 million in net income, and of

AEP’s financial risk exposure to OVEC, in which the Company held a nearly 44% stake. As a

result, the Audit Committee members knew or should have known of the Company’s involvement

in the passage of HB6 to evaluate its financial impact on AEP’s operations, but failed to disclose

the same and allowed the materially misleading statements to be disseminated in AEP’s SEC




records production discloses                                         indicating that the Company’s
management and directors knew of or had reason to know of the contributions to EOE. Or, if they
did not know of the contributions to EOE, then Hoaglin, Garcia, Lin, Notebaert, Nowell,
Rasmussen, and Tucker face a substantial risk of liability for their failure to institute internal
controls with respect to political contributions because they were wholly unaware of the significant
amount and use of funds contributed by AEP to EOE, an entity that operates solely with AEP’s
funds.

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filings and other disclosures. Thus, Hoaglin, Anderson, Garcia, Godspeed, Lin, and McCarthy

breached their fiduciary duties and are not disinterested, and demand is excused as to them.

           106.     Akins, Hoaglin, Anderson, Beasley, Crosby, Garcia, Goodspeed, Lin, McCarthy,

Notebaert, Nowell, Rasmussen, Richard, and Tucker served as the members of the Policy

Committee at all relevant times. As such, they are responsible for evaluating major public issues

affecting the Company, as well as established policies that affect AEP’s relationship with its

service areas. In their capacities as Policy Committee members, Akins, Hoaglin, Anderson,

Beasley, Crosby, Garcia, Goodspeed, Lin, McCarthy, Notebaert, Nowell, Rasmussen, Richard,

and Tucker necessarily reviewed and discussed the impact of HB6 on the Company’s operations

and on AEP’s relationship with Ohioans. As a result, the Policy Committee members knew or

should have known of the Company’s involvement in the passage of HB6 to evaluate its financial

impact on AEP’s operations, but failed to disclose the same and allowed the materially misleading

statements to be disseminated in AEP’s SEC filings and other disclosures. Thus, Akins, Hoaglin,

Anderson, Beasley, Crosby, Garcia, Goodspeed, Lin, McCarthy, Notebaert, Nowell, Rasmussen,

Richard, and Tucker breached their fiduciary duties and are not disinterested, and demand is

excused as to them.

                                              COUNT I

                  Against Defendants Akins and Tierney for Breach of Fiduciary Duty

           107.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           108.     Defendants Akins and Tierney each owes and owed to the Company the duty to

exercise candor, good faith, and loyalty in the management and administration of AEP’s business

and affairs, particularly with respect to issues as fundamental as public disclosures.



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           109.   The conduct by defendants Akins and Tierney set forth herein was due to their

intentional or reckless breach of the fiduciary duties they owed to the Company. Defendants Akins

and Tierney intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of AEP.

           110.   In breach of their fiduciary duties owed to AEP, defendants Akins and Tierney

willfully participated in and caused the Company to expend unnecessarily its corporate funds,

rendering them personally liable to the Company for breaching their fiduciary duties.

           111.   In particular, defendants Akins and Tierney knowingly or recklessly made untrue

statements and/or permitted the Company’s public filings, disclosures, and statements to

misleadingly report revenue and the Company’s overall prospects.

           112.   As a direct and proximate result of the breaches of their fiduciary obligations by

defendants Akins and Tierney, AEP has sustained and continues to sustain significant damages,

including direct monetary damages, exposure to liability from securities litigation and a loss of

goodwill in the capital markets. As a result of the misconduct alleged herein, defendants are liable

to the Company.

                                             COUNT II

            Against Akins, Tierney, and Beasley – Breach of Duty for Insider Trading

           113.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           114.   As alleged above, Akins, Tierney, and Beasley are fiduciaries of AEP, possessed

material, non-public information of AEP, and used that information improperly to profit from sales

of AEP stock. When Akins, Tierney, and Beasley directed the stock sales set forth above, they

were motivated to do so, in whole or in part, by the substance of the material, non-public

information they possessed, and they acted with scienter.

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           115.   When Akins, Tierney, and Beasley sold their AEP stock, they knew that the

investing public was unaware of the negative material information that they possessed. They also

knew that if the information were disclosed, the market price of AEP stock would be significantly

lower. Akins, Tierney, and Beasley timed their stock sales to take advantage of the investing

public’s ignorance of the concealed material facts and obtain a higher price for the stock they sold.

They thereby benefitted by misappropriating AEP’s non-public information.

           116.   Plaintiff has no adequate remedy at law.

                                              COUNT III

 (Against Defendants Akins and Tierney for Contribution For Violations of Sections 10(b)
                             and 21D of the Exchange Act)

           117.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           118.   The conduct of Defendants Akins and Tierney, as described herein, has exposed

the Company to significant liability under various federal and state securities laws by their disloyal

acts.

           119.   AEP is named as a defendant in related securities fraud lawsuit that allege and assert

claims arising under § 10(b) of the Exchange Act. The Company is alleged to be liable to private

persons, entities and/or classes by virtue of many of the same facts alleged herein. If AEP is found

liable for violating the federal securities laws, the Company’s liability will arise in whole or in part

from the intentional, knowing, or reckless acts or omissions of all or some of the Defendants as

alleged herein, who have caused the Company to suffer substantial harm through their disloyal

acts. The Company is entitled to contribution and indemnification from these Defendants in

connection with all claims that have been, are, or may be asserted against the Company by virtue

of their wrongdoing.


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           120.   As officers, directors and otherwise, Defendants Akins and Tierney had the power

or ability to, and did, control or influence, either directly or indirectly, AEP’s general affairs,

including the content of its public statements, and had the power or ability to directly or indirectly

control or influence the specific corporate statements and conduct that violated § 10(b) of the

Exchange Act and SEC Rule 10b-5.

           121.   Defendants Akins and Tierney are liable under § 21D of the Exchange Act, which

governs the application of any private right of action for contribution asserted pursuant to the

Exchange Act.

           122.   Defendants Akins and Tierney have damaged the Company and are liable to the

Company for contribution.

           123.   No adequate remedy at law exists for Plaintiff by and on behalf of the Company.

                                             COUNT IV

  Against the Defendants Hoaglin, Anderson, Beasley, Crosby, Garcia, Goodspeed, Lin,
  McCarthy, Noebaert, Nowell, Rasmussen, Richard, and Tucker for Breach of Fiduciary
                                        Duty

           124.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           125.   These Defendants each owes and owed to the Company the duty to exercise candor,

good faith, and loyalty in the management and administration of AEP’s business and affairs,

particularly with respect to issues as fundamental as public disclosures.

           126.   These Defendants’ conduct set forth herein was due to their intentional or reckless

breach of the fiduciary duties they owed to the Company. These Defendants intentionally or

recklessly breached or disregarded their fiduciary duties to protect the rights and interests of AEP.




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           127.   In breach of their fiduciary duties owed to AEP, these Defendants willfully

participated in and caused the Company to expend unnecessarily its corporate funds, rendering

them personally liable to the Company for breaching their fiduciary duties.

           128.   In particular, these Defendants knowingly or recklessly made untrue statements

and/or permitted the Company’s public filings, disclosures, and statements to misleadingly report

revenue and the Company’s overall prospects.

           129.   As a direct and proximate result of these Defendants’ breaches of their fiduciary

obligations, AEP has sustained and continues to sustain significant damages, including direct

monetary damages, exposure to liability from securities litigation and a loss of goodwill in the

capital markets. As a result of the misconduct alleged herein, defendants are liable to the

Company.

                                       PRAYER FOR RELIEF

           WHEREFORE, plaintiff, on behalf of AEP, demands judgment as follows:

           A.     Declaring that plaintiff may maintain this action on behalf of AEP and that plaintiff

is an adequate representative of the Company;

           B.     Against all of the defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the defendants’ breaches of fiduciary duties,

waste of corporate assets, and unjust enrichment;

           C.     Directing AEP to take all necessary actions to reform and improve its corporate

governance and internal procedures to comply with applicable laws and to protect AEP and its

stockholders from a repeat of the damaging events described herein, including, but not limited to,

putting forward for stockholder vote, resolutions for amendments to the Company’s Bylaws or

Articles of Incorporation and taking such other action as may be necessary to place before

stockholders for a vote of the following corporate governance policies:

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                1.     a proposal to strengthen the Company’s controls over financial reporting;

                2.     a proposal to strengthen the Board’s supervision of operations and develop

and implement procedures for greater stockholder input into the policies and guidelines of the

Board;

                3.     a proposal to strengthen AEP’s oversight of its disclosure procedures;

                4.     a provision to control insider transactions; and

                5.     a provision to permit the stockholders of AEP to nominate at least three

candidates for election to the Board;

           D.   Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

state statutory provisions sued hereunder, including attaching, impounding, imposing a

constructive trust on, or otherwise restricting the proceeds of defendants’ trading activities or their

other assets so as to assure that plaintiff on behalf of AEP has an effective remedy;

           E.   Awarding to AEP restitution from defendants, and each of them, and ordering

disgorgement of all profits, benefits, and other compensation obtained by the defendants;

           F.   Awarding to plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

           G.   Granting such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

Pursuant to Fed. R. Civ. P. 38(b), plaintiff demands a trial by jury.

Dated: April 6, 2021                           By: Andrew Kimble
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